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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


FLATWORLD INTERACTIVES , LLC,

                      Plaintiff,                          Civil Action No. 12-804-LPS

               v.                                         Jury Trial Demanded

SAMSUNG ELECTRONICS CO., LTD. , et al. ,

                      Defendants.




                                     P~ ORDER

       Plaintiff, FlatWorld Interactives LLC, and Defendants, Samsung Electronics Co. , Ltd.

and Samsung Electronics America, Inc. (together, the "Parties"), request dismissal of the case as

between them. The Court, having considered this request, is of the opinion that the Parties '

request for dismissal should be GRANTED .

       IT IS THEREFORE ORDERED that all claims between the Parties made in this case are

dismissed with prejudice.

       IT IS FURTHER ORDERED that all attorneys' fees, costs of court and expenses shall be

borne by each party inctµTing the same.
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       Signed thi~day of            I'\
                                          ~   ,   2016.



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                                                  THE HONORABLE LEONARD P. STARK
                                                  United States District Judge
